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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


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AFRICARD CO. LTD.,                                   Civil Action No. 1:16-cv-196 (ABJ)

                               Petitioner,

                 V.

REPUBLIC OF NIGER,

                               Respondent.

____________________________________



                            SUPPLEMENT TO STATUS REPORT

         The Republic of Niger respectfully submits this supplement to the status report filed on

September 12, 2017 by Africard Co. Ltd.         As set forth in the Declaration of Anthony J.

Mavronicolas and the Declaration of Niger’s French counsel, Vincent Bénézech, (1) the

September 6, 2017 decision of the “Président du Tribunal de Grande Instance de Paris” (“French

Judgment Court”) declined to stay the proceedings before the French Judgment Court, and rather

than vacate the French judgment entered on the arbitration award, found that the ICCJA, in

Abidjan, Ivory Coast, now considering the challenge to that arbitration award, was the proper

forum for challenging the arbitration award, and (2) the attachment of Niger’s assets in France,

were the subject before the “Juge de l’Exécution du Tribunal de Grande Instance Nanterre (the




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“Nanterre Attachment Judgment”) who issued a stay of the attachment on July 13, 2017, which

still remains in effect today.




                                                 Respectfully submitted,

                                                 THE REPUBLIC OF NIGER

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